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                    Search for articles...




         All Collections         Mixtiles       How to Hang Your Mixtiles



         How to Hang Your Mixtiles
         Learn some tips and tricks for putting your tiles on the wall! 😊

         Updated over a month ago


         Your Mixtiles have arrived? How exciting! 🎉 Now, let's get them up on your walls! Hanging
         your Mixtiles is super easy, and we’ve got all the tips you need to make sure they look
         fantastic.


         Prepare Your Wall

         Before you get started, wipe your wall with a dry cloth to make sure it’s dust-free. This helps
         the adhesive stick better.


         Plan Your Layout

         Decide on a display design before peeling off the backing of the sticky adhesive so it doesn't
         lose its stickiness.


         Need Some Inspiration?

         Visit Our Website: Go to Mixtiles.com, click on the three lines in the upper corner, and select
         the "Gallery Wall" option. Here, you can see some layout ideas we offer as a Gallery Wall set.


         Instagram Inspiration: If you have Instagram, search #Mixtiles to find tons of customer
         photos and get some great ideas for your own display. 💖


         Measure for Even Spacing

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         If you want to ensure even spacing between your tiles, use any measuring tool.


         Level Your Tiles

         To make sure your tiles are straight, use a level.


         Single Sticky Adhesive Strip

         Peel and Stick: Peel the protective sheet from the sticky adhesive.
         Apply Pressure: Press evenly around the frame to ensure a great grip on the wall.


         Want to see this in action? Check out this quick video:



                       Mixtiles Tips & Tutorials




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         Magnet Stickies

         If your Mixtiles came with a single magnetic sticky on the back, here’s what to do:

            1. Stick the wall magnet onto the wall where the tile will go.
            2. Connect the magnet on the back of the photo to the magnet on the wall.

         Watch this video to see how it works:




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                       Mixtiles - Magnet hanging instructions




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         Keeping Your Mixtiles in Great Shape

         To keep your Mixtiles looking fresh, just wipe them with a dry, soft cloth. No need for water
         or cleaning products!


         Need Help?

         Feel free to reach out to us if you have any questions or need assistance. We’re here to help!


         Email: hi@mixtiles.com
         Live Chat: Available on our website or app


         Happy decorating! 🌟


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